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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
PAYDAY LOAN, LLC d/b/a PAYDAY                   )
MONEY CENTERS,                                  )
                     Plaintiff,                 )
                                                )
                        v.                      )
                                                )     No. 1:20-cv-1084 (ABJ)
 UNITED STATES SMALL BUSINESS                   )
  ADMINISTRATION, et al.,                       )
                                                )
                             Defendants.        )
                                                )
                                                )

       DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS 1
Dated: April 30, 2020


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   1
     Upon agreement by the parties during the April 28, 2020, telephonic status, the Court
ordered that (i) Payday’s motion for a temporary restraining order and preliminary injunction
(ECF No. 2) shall be consolidated with an adjudication of the merits under Federal Rule of Civil
Procedure 65(a)(2); (ii) Defendants’ opposition (ECF No. 8) to Payday’s motion shall be deemed
a motion to dismiss for failure to state a claim upon which relief can be granted; and
(3) Payday’s reply (ECF No. 9) shall be deemed an opposition to that motion. See Minute Order
dated April 30, 2020.
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       As Defendants have demonstrated, the CARES Act 2 authorizes the SBA to guarantee

PPP loans “under the same terms, conditions, and processes” applied in its pre-existing small-

business loan program, “[e]xcept as otherwise provided” by the terms of the CARES Act itself.

15 U.S.C. § 636(a)(36)(B). No provision of the CARES Act directs the SBA, when

administering the PPP, to waive its longstanding rule, 13 C.F.R. § 120.110(b), prohibiting SBA

loans to “[f]inancial businesses primarily engaged in the business of lending.” As a result, the

express terms of subparagraph 636(a)(36)(B) authorize the SBA to continue applying its

longtime “no lender” regulation under the PPP, and Payday’s claim that it must be deemed

eligible to apply for a PPP loan fails.

       In support of its contrary view, Payday relies in its opposition on 15 U.S.C.

§ 636(a)(36)(D)(i), which provides that “[d]uring the covered period, . . . any business concern,

nonprofit organization, veterans organization, or Tribal business concern described in [15 U.S.C.

§ 657a(b)(2)(C)] shall be eligible to receive a [PPP] loan” if it meets the relaxed applicant size

limitations for PPP loans, id. § 636(a)(36)(D)(i)(I), (II). Pl.’s Reply Mem. of Law in Support of

Its Emer. Mot. for Entry of [TRO] and Prelim. Inj. at 2 (ECF No. 9) (“Pl.’s Reply”). Still

entirely ignoring subparagraph 636(a)(36)(B), Payday insists that the phrase “any business

concern,” as used in subparagraph 636(a)(D)(i), “sets forth an eligibility standard wholly at odds

with [s]ection 120.110’s categorical denial of [PPP] loans to lending companies and other

businesses.” Id. (emphasis Payday’s).




   2
     Specialized terms not otherwise defined herein shall have the same meaning as given in
Defendants’ Memorandum of Points and Authorities in Opposition to Plaintiff’s Motion for a
Temporary Restraining Order (ECF No. 8).
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        But in placing so much weight on the phrase “any business concern,” Payday overlooks

the canon of statutory construction providing that the meaning of the word “any” can differ if

“strange and indeterminate results” would emerge from adopting the usual meaning of “any” in a

statute. Nixon v. Mo. Mun. League, 541 U.S. 124, 132-33 (2004); see also Small v. United

States, 544 U.S. 385, 388-94 (2005) (holding that the term “any court,” as used in 18 U.S.C.

§ 922(g)(1), was limited to domestic courts because, inter alia, including foreign courts would

create anomalies that Congress could not have intended). If adopted, Payday’s reading of the

CARES Act would lead to just such strange and anomalous results. As Payday acknowledges,

see Pl.’s Reply at 2, under its interpretation of the Act Congress not only supposedly directed the

SBA to make PPP loans available to lenders excluded under section 120.110(b), but in one fell

swoop Congress also purportedly compelled the SBA to make loans available to:

             •   businesses located in foreign countries;

             •   pyramid sale distribution plans;

             •   businesses engaged in illegal activities;

             •   private clubs and businesses which limit the number of memberships
                 for reasons other than capacity;

            •    businesses with an associate who is incarcerated, on probation, on parole,
                 or [who] has been indicted for a felony or a crime of moral turpitude;

            •    businesses that have previously defaulted on federal loans resulting in a
                 loss to the Federal Government; and

            •    speculative businesses (such as oil wildcatting).

See 13 C.F.R. § 120.110(e), (f), (h), (i), (n), (q), (s).

        Payday offers not a word to explain why Congress would find it necessary or appropriate

in the public interest to compel the SBA, on a wholesale basis, to make PPP loans available to

businesses falling into these categories. Nor does it justify its conclusion that Congress ordained

                                                     2
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such far-reaching and profound changes in longtime SBA loan policy in such inconspicuous

fashion. See Jones v. United States, 526 U.S. 227, 234 (1999) (“Congress is unlikely to intend

radical departures from past practice without making a point of saying so.”); Whitman v. Am.

Trucking Ass’ns, 531 U.S. 457, 468 (2001) (“Congress . . . does not . . . hide elephants in

mouseholes.”). 3

       The SBA’s interpretation of subparagraph 636(a)(36)(B) as preserving its authority under

section 120.110 is embodied in a regulation issued by the SBA in exercise of emergency

rulemaking authority conferred by Congress under the CARES Act. See CARES Act. § 1114

(directing SBA within 15 days to “issue regulations to carry out [the PPP] and the amendments

made by [the PPP] without regard to the notice requirements under section 553(b) of title 5,

United States Code”); SBA, Business Loan Program Temporary Changes; Paycheck Protection

Program, Interim Final Rule, 85 Fed. Reg. 20811, 20812 (Apr. 15, 2020) (providing that

businesses “identified in 13 CFR 120.110,” with the exception of nonprofit organizations, are

ineligible for PPP loans); id. at 20817 (citing authority under CARES Act § 1114). The rule’s

interpretation of the CARES Act is clearly correct, and entitled to deference. See Mozilla Corp.

v. FCC, 940 F.3d 1, 19-20 (D.C. Cir. 2019); Guedes v. Bur. of Alcohol, Tobacco, Firearms &

Explosives, 920 F.3d 1, 17-18 (D.C. Cir. 2019). Payday, therefore, has failed to state a claim

against the SBA on which relief can be granted.




   3
     Payday’s interpretation of the CARES Act also fails to account for the fact that the
categories of businesses listed in section 120.110 include “[n]on-profit businesses.” 13 C.F.R.
§120.110(a). If Congress meant the phrase “any business concern” in subparagraph
636(a)(36)(D)(i) to extend PPP eligibility to all categories of businesses identified in 13 C.F.R.
§ 120.110, then it would not have been necessary to separately specify in that same provision of
the Act that “nonprofit organizations” may also apply for PPP loans.

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                                      CONCLUSION

      For the reasons stated above, Defendants’ motion to dismiss should be granted.


Dated: May 1, 2020

                                                 Respectfully submitted,

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